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   8   Jonathan Cochran, Joseph Zagorski,
       Justin Vaughan, and Paola Trinidad
   9
  10
                             UNITED STATES DISTRICT COURT
  11
                            CENTRAL DISTRICT OF CALIFORNIA
  12
  13
  14   ANGELICA R. UNTALAN,                          2:19-cv-07599 MRW
  15                                    Plaintiff, ANSWER TO COMPLAINT
  16                v.
                                                     Action Filed: September 6, 2019
  17
       WARREN A. STANLEY, ET AL.,
  18
                                    Defendants.
  19
  20
            COME NOW Defendants Warren A. Stanley, Tariq D. Johnson, Jonathan
  21
       Cochran, Joseph Zagorski, Justin Vaughan, Paola Trinidad, and in response to the
  22
       complaint on file herein admits, denies, and allege as follows:
  23
       I.   JURISDICTION.
  24
            1.   Answering paragraph 1 of the complaint, said paragraph contains
  25
                 conclusions of law which do not require an answer. To the extent that
  26
                 paragraph 1 may be deemed to require an answer, answering defendants
  27
                 admit that plaintiff has stated the correct basis for jurisdiction.
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   1         2.   Answering paragraph 2 of the complaint, said paragraph contains
   2              conclusions of law which do not require an answer. To the extent that
   3              paragraph 2 may be deemed to require an answer, answering defendants
   4              admit that the incidents, events and occurrences giving rise to this action
   5              occurred in the County of Los Angeles and that plaintiff’s claims arise
   6              out of alleged acts of employees of the California Highway Patrol (CHP).
   7              Answering defendants also admit that plaintiff has stated the correct basis
   8              for venue. Answering defendants deny each and every remaining
   9              allegation of said paragraph and any inferences that may be drawn
  10              therefrom.
  11   II.   PARTIES.
  12         3.   Answering defendants lack sufficient knowledge or information from
  13              which to form a belief as to the truth of plaintiff’s allegations in
  14              paragraph 3 of the complaint, and, on that basis, deny those allegations
  15              and any inferences that may be drawn therefrom.
  16         4.   Answering paragraph 4 of the complaint, said paragraph contains
  17              conclusions of law which do not require an answer. To the extent that
  18              paragraph 4 may be deemed to require an answer, answering defendants
  19              admit that Defendant Warren A. Stanley is the Commissioner of the
  20              CHP.
  21         5.   Answering paragraph 5 of the complaint, said paragraph contains
  22              conclusions of law which do not require an answer. To the extent that
  23              paragraph 5 may be deemed to require an answer, answering defendants
  24              admit that Defendant Joseph Farrow was the Commissioner of the CHP.
  25              Answering defendants deny each and every remaining allegation of said
  26              paragraph and any inferences that may be drawn therefrom.
  27         6.   Answering paragraph 6 of the complaint, said paragraph contains
  28              conclusions of law which do not require an answer. To the extent that
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   1            paragraph 6 may be deemed to require an answer, answering defendants
   2            admit that Defendant Tariq D. Johnson is, and at all times relevant to this
   3            action was, an employee of the CHP.
   4       7.   Answering paragraph 7 of the complaint, said paragraph contains
   5            conclusions of law which do not require an answer. To the extent that
   6            paragraph 7 may be deemed to require an answer, answering defendants
   7            admit that Defendants Jonathan Cochran and Joseph Zagorski are, and at
   8            all times relevant to this action were, employees of the CHP.
   9       8.    Answering paragraph 8 of the complaint, said paragraph contains
  10            conclusions of law which do not require an answer. To the extent that
  11            paragraph 8 may be deemed to require an answer, answering defendants
  12            admit that Defendant Justin Vaughan is, and at all times relevant to this
  13            action was, an employee of the CHP.
  14       9.   Answering paragraph 9 of the complaint, said paragraph contains
  15            conclusions of law which do not require an answer. To the extent that
  16            paragraph 9 may be deemed to require an answer, answering defendants
  17            admit that Defendant Paola Trinidad is, and at all times relevant to this
  18            action was, an employee of the CHP.
  19       10. Answering defendants lack sufficient knowledge or information from
  20            which to form a belief as to the truth of plaintiff’s allegations in
  21            paragraph 10 of the complaint, and, on that basis, deny those allegations
  22            and any inferences that may be drawn therefrom.
  23       11. Answering paragraph 11 of the complaint, said paragraph contains
  24            conclusions of law which do not require an answer. To the extent that
  25            paragraph 11 may be deemed to require an answer, answering defendants
  26            admit that answering defendants were acting within the course and scope
  27            of their employment with the CHP and under color of state law.
  28            Answering defendants deny each and every remaining allegation of said
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   1            paragraph and any inferences that may be drawn therefrom.
   2   III. FACTS COMMON TO ALL CLAIMS.
   3       12. Answering defendants deny each and every allegation in paragraph 12 of
   4            the complaint and any inferences that may be drawn therefrom.
   5       13. Answering defendants deny each and every allegation in paragraph 13 of
   6            the complaint and any inferences that may be drawn therefrom.
   7       14. Answering defendants deny each and every allegation in paragraph 14 of
   8            the complaint and any inferences that may be drawn therefrom.
   9       15. Answering defendants deny each and every allegation in paragraph 15 of
  10            the complaint and any inferences that may be drawn therefrom.
  11       16. Answering defendants deny each and every allegation in paragraph 16 of
  12            the complaint and any inferences that may be drawn therefrom.
  13       17. Answering defendants deny each and every allegation in paragraph 17 of
  14            the complaint and any inferences that may be drawn therefrom.
  15       18. Answering defendants deny each and every allegation in paragraph 18 of
  16            the complaint and any inferences that may be drawn therefrom.
  17       19. Answering defendants deny each and every allegation in paragraph 19 of
  18            the complaint and any inferences that may be drawn therefrom.
  19       20. Answering defendants lack sufficient knowledge or information from
  20            which to form a belief as to the truth of plaintiff’s allegations in
  21            paragraph 20 of the complaint, and, on that basis, deny those allegations
  22            and any inferences that may be drawn therefrom.
  23       21. Answering paragraph 21 of the complaint, answering defendants admit
  24            that Defendant Trinidad stopped plaintiff on Sunday, May 12, 2019, in
  25            the vicinity of Rosecrans and Broadway in Los Angeles County because
  26            Defendant Trinidad observed a crack in the windshield of plaintiff’s
  27            vehicle and plaintiff appeared to not be wearing her seatbelt because the
  28            shoulder strap was not placed correctly. Answering defendants deny
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   1            each and every remaining allegation of said paragraph and any inferences
   2            that may be drawn therefrom.
   3       22. Answering paragraph 22 of the complaint, answering defendants admit
   4            that Defendant Trinidad instructed plaintiff to exit the vehicle.
   5            Answering defendants deny each and every remaining allegation of said
   6            paragraph and any inferences that may be drawn therefrom.
   7       23. Answering paragraph 23 of the complaint, answering defendants admit
   8            that plaintiff’s driving privileges had been suspended. Answering
   9            defendants also admit that plaintiff’s vehicle was seized pursuant to
  10            Vehicle Code section 14602.6(a)(1). Answering defendants deny each
  11            and every remaining allegation of said paragraph and any inferences that
  12            may be drawn therefrom.
  13       24. Answering defendants lack sufficient knowledge or information from
  14            which to form a belief as to the truth of plaintiff’s allegations in
  15            paragraph 24 of the complaint, and, on that basis, deny those allegations
  16            and any inferences that may be drawn therefrom.
  17       25. Answering paragraph 25 of the complaint, answering defendants admit
  18            that plaintiff’s counsel contacted Shalonda Moore on May 16, 2019.
  19            Answering defendants deny each and every remaining allegation of said
  20            paragraph and any inferences that may be drawn therefrom.
  21       26. Answering paragraph 26 of the complaint, answering defendants admit
  22            that plaintiff’s counsel contacted Defendant Vaughan on May 17, 2019.
  23            Answering defendants deny each and every remaining allegation of said
  24            paragraph and any inferences that may be drawn therefrom.
  25       27. Answering paragraph 27 of the complaint, answering defendants admit
  26            that plaintiff’s counsel met with Defendants Cochran and Zagorski on
  27            May 23, 2019, and that a storage hearing was conducted. Answering
  28            defendants deny each and every remaining allegation of said paragraph
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   1            and any inferences that may be drawn therefrom.
   2       28. Answering paragraph 28 of the complaint, answering defendants admit
   3            that plaintiff’s counsel sent a letter dated June 19, 2019, to Defendants
   4            Stanley and Johnson. Answering defendants deny each and every
   5            remaining allegation of said paragraph and any inferences that may be
   6            drawn therefrom.
   7       29. Answering defendants deny each and every allegation in paragraph 29 of
   8            the complaint and any inferences that may be drawn therefrom.
   9       30. Answering defendants deny each and every allegation in paragraph 30 of
  10            the complaint and any inferences that may be drawn therefrom.
  11       31. Answering defendants lack sufficient knowledge or information from
  12            which to form a belief as to the truth of plaintiff’s allegations in
  13            paragraph 31 of the complaint, and, on that basis, deny those allegations
  14            and any inferences that may be drawn therefrom.
  15              COUNT ONE – UNLAWFUL SEARCH OF PERSON
  16                          42 U.S.C. § 1983 / Cal. Civ. Code § 52.1
  17                              (Against Defendant Trinidad only)
  18       32. Answering paragraph 32 of the complaint, answering defendants reassert
  19            and incorporate by this reference their responses to all previous and
  20            following paragraphs as though fully set forth at length herein.
  21       33. Answering defendants deny each and every allegation in paragraph 33 of
  22            the complaint and any inferences that may be drawn therefrom.
  23       34. Answering defendants deny each and every allegation in paragraph 34 of
  24            the complaint and any inferences that may be drawn therefrom.
  25       35. Answering defendants deny each and every allegation in paragraph 35 of
  26            the complaint and any inferences that may be drawn therefrom.
  27       36. Answering defendants deny each and every allegation in paragraph 36 of
  28            the complaint and any inferences that may be drawn therefrom.
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   1                 COUNT TWO – UNLAWFUL VEHICLE IMPOUND
   2                                         42 U.S.C. § 1983
   3                                     (Against All Defendants)
   4          37. Answering paragraph 37 of the complaint, answering defendants reassert
   5              and incorporate by this reference their responses to all previous and
   6              following paragraphs as though fully set forth at length herein.
   7          38. Answering defendants deny each and every allegation in paragraph 38 of
   8              the complaint and any inferences that may be drawn therefrom.
   9        COUNT THREE – SUBSTANTIVE AND PROCEDURAL DUE PROCESS
  10                                         42 U.S.C. § 1983
  11           (Against Defendants Farrow, Stanley, Johnson, Cochran, Zagorski, Vaughan
  12                                         and DOES)
  13          39. Answering paragraph 39 of the complaint, answering defendants reassert
  14              and incorporate by this reference their responses to all previous and
  15              following paragraphs as though fully set forth at length herein.
  16          40. Answering defendants deny each and every allegation in paragraph 40 of
  17              the complaint and any inferences that may be drawn therefrom.
  18          41. Answering defendants lack sufficient knowledge or information from
  19              which to form a belief as to the truth of plaintiff’s allegations in
  20              paragraph 41 of the complaint, and, on that basis, deny those allegations
  21              and any inferences that may be drawn therefrom.
  22          42. Answering defendants deny each and every allegation in paragraph 42 of
  23              the complaint and any inferences that may be drawn therefrom.
  24          43. Answering defendants deny each and every allegation in paragraph 43 of
  25              the complaint and any inferences that may be drawn therefrom.
  26          44. Answering defendants deny each and every allegation in paragraph 44 of
  27              the complaint and any inferences that may be drawn therefrom.
  28   //
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   1        45. Answering defendants deny each and every allegation in paragraph 45 of
   2            the complaint and any inferences that may be drawn therefrom.
   3        46. Answering defendants deny each and every allegation in paragraph 46 of
   4            the complaint and any inferences that may be drawn therefrom.
   5                     COUNT FOUR – UNLAWFUL TAKINGS
   6                                      42 U.S.C. § 1983
   7                                  (Against All Defendants)
   8        47. Answering paragraph 47 of the complaint, answering defendants reassert
   9            and incorporate by this reference their responses to all previous and
  10            following paragraphs as though fully set forth at length herein.
  11        48. Answering defendants deny each and every allegation in paragraph 48 of
  12            the complaint and any inferences that may be drawn therefrom.
  13        49. Answering defendants deny each and every allegation in paragraph 49 of
  14            the complaint and any inferences that may be drawn therefrom.
  15        50. Answering defendants deny each and every allegation in paragraph 50 of
  16            the complaint and any inferences that may be drawn therefrom.
  17           COUNT FIVE – VIOLATION OF CAL. CIVIL CODE § 52.1
  18                               (Against All Defendants)
  19        51. Answering paragraph 51 of the complaint, answering defendants reassert
  20            and incorporate by this reference their responses to all previous and
  21            following paragraphs as though fully set forth at length herein.
  22        52. Answering defendants deny each and every allegation in paragraph 52 of
  23            the complaint and any inferences that may be drawn therefrom.
  24        53. Answering defendants deny each and every allegation in paragraph 53 of
  25            the complaint and any inferences that may be drawn therefrom.
  26        54. Answering defendants deny each and every allegation in paragraph 54 of
  27            the complaint and any inferences that may be drawn therefrom.
  28   //
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   1        COUNT SIX – UNLAWFUL SEIZURE (CAL. CONST. ART. I § 13)
   2                                 (Against All Defendants)
   3        55. Answering paragraph 55 of the complaint, answering defendants reassert
   4             and incorporate by this reference their responses to all previous and
   5             following paragraphs as though fully set forth at length herein.
   6        56. Answering defendants deny each and every allegation in paragraph 56 of
   7             the complaint and any inferences that may be drawn therefrom.
   8        57. Answering defendants deny each and every allegation in paragraph 57 of
   9             the complaint and any inferences that may be drawn therefrom.
  10        AS SEPARATE AND AFFIRMATIVE DEFENSES, answering defendants
  11   allege as follows:
  12        AFFIRMATIVE DEFENSE NO. 1:
  13        The complaint herein fails to state facts sufficient to constitute any cause of
  14   action against defendants.
  15        AFFIRMATIVE DEFENSE NO. 2:
  16        Plaintiff’s own conduct estops plaintiff from claiming the damages alleged in
  17   the complaint.
  18        AFFIRMATIVE DEFENSE NO. 3:
  19        Plaintiff has waived any right to relief for the causes of action alleged in the
  20   complaint.
  21        AFFIRMATIVE DEFENSE NO. 4:
  22        The instant action is barred by the doctrine of unclean hands.
  23        AFFIRMATIVE DEFENSE NO. 5:
  24        The complaint and each cause of action therein are barred by the statute of
  25   limitations of Code of Civil Procedure sections 335.1, 338, 340, and 343.
  26        AFFIRMATIVE DEFENSE NO. 6:
  27        The complaint and each cause of action therein are barred by the statute of
  28   limitations of Code of Civil Procedure section 342 and Government Code sections
                                                 9
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   1   945.4 and 945.6.
   2        AFFIRMATIVE DEFENSE NO. 7:
   3        All acts of defendants occurred in the proper exercise of his/her job duties and
   4   police powers without malice or intent to deprive any person of any right arising
   5   under the Constitution or laws of the United States, or to do any person any other
   6   injury.
   7        AFFIRMATIVE DEFENSE NO. 8:
   8        Defendants were at all relevant times acting within the course and scope of
   9   duty of public employment.
  10        AFFIRMATIVE DEFENSE NO. 9:
  11        Defendants did not deprive any person of any right, privilege or immunity
  12   guaranteed by the Constitution or laws of the United States.
  13        AFFIRMATIVE DEFENSE NO. 10:
  14        Defendants did not perform any affirmative act, participate in another’s
  15   affirmative acts, or omit to perform an act which they were legally required to do.
  16        AFFIRMATIVE DEFENSE NO. 11:
  17        At all times relevant, defendants did not violate any clearly established
  18   statutory or constitutional right of which a reasonable officer would have known.
  19   Defendants are therefore immune from liability.
  20        AFFIRMATIVE DEFENSE NO. 12:
  21        Defendants are entitled to qualified immunity. Defendants acted at all times
  22   herein relevant in good faith, with due care, within the scope of discretion, and
  23   pursuant to laws, regulations, rules, and practices reasonably believed to be in
  24   accordance with the Constitution and laws of the United States. There is no liability
  25   pursuant to the Federal Civil Rights Act where one acts in good faith and entertains
  26   an honest, reasonable belief that one’s actions are in accord with the clearly
  27   established law.
  28   //
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   1        AFFIRMATIVE DEFENSE NO. 13:
   2        The complaint herein fails to state facts sufficient to constitute a cause of
   3   action under 42 U.S.C. section 1983 in that simple negligence is not a federal civil
   4   rights violation.
   5        AFFIRMATIVE DEFENSE NO. 14:
   6        There is no imputed liability between public officers in actions under the
   7   Federal Civil Rights Act.
   8        AFFIRMATIVE DEFENSE NO. 15:
   9        The complaint fails to state a cause of action for violation of civil rights, as
  10   any deprivation of civil rights alleged in the complaint was not without due process
  11   of law.
  12        AFFIRMATIVE DEFENSE NO. 16:
  13        The acts or omissions, if any there were, did not amount to a taking or
  14   damaging within the meaning of Article I, Section 19 of the California Constitution
  15   or of Amendment V of the United States Constitution.
  16        AFFIRMATIVE DEFENSE NO. 17:
  17        The acts and omissions alleged in the complaint, to the extent they occurred at
  18   all, were an exercise of the police power.
  19        AFFIRMATIVE DEFENSE NO. 18:
  20        Insofar as any defendants have approved or reviewed determinations and
  21   actions of any subordinate, such review and approval was done in a legislative,
  22   judicial, or quasi-judicial capacity, within the scope of discretion, with due care,
  23   and with a reasonable and good faith belief that such actions were in accordance
  24   with the Constitution and laws of the United States.
  25        AFFIRMATIVE DEFENSE NO. 19:
  26        Insofar as any defendants have promulgated any rule or regulation or directive,
  27   such promulgation was done within the scope of discretion, in good faith, with due
  28   care, and with the intent that such rule or regulation or directive conforms in all
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   1   respects to the Constitution and laws of the United States.
   2        AFFIRMATIVE DEFENSE NO. 20:
   3        Defendants will be entitled to reasonable attorneys’ fees and costs of suit upon
   4   prevailing within the meaning of 42 U.S.C. section 1988.
   5        AFFIRMATIVE DEFENSE NO. 21:
   6        The complaint and each cause of action therein are barred and this court is
   7   without jurisdiction as there has been a failure to exhaust administrative remedies.
   8        AFFIRMATIVE DEFENSE NO. 22:
   9        The action is barred by the failure to precede the action with a claim as
  10   required by Government Code sections 945.4, 911.2, 905.2, and 950.2.
  11        AFFIRMATIVE DEFENSE NO. 23:
  12        If and to the extent that any claim was presented to the California Victim
  13   Compensation Board, this lawsuit is untimely because it was filed more than six-
  14   months after a written notice of rejection of claim was personally delivered or
  15   deposited in the mail. Cal. Gov. Code § 945.6.
  16        AFFIRMATIVE DEFENSE NO. 24:
  17        If and to the extent that the allegations of the complaint attempt to enlarge
  18   upon the facts and contentions set forth in the California Victim Compensation
  19   Board claim, if any there was, said complaint fails to state a cause of action and is
  20   barred by Government Code sections 905.2, 911.2 and 950.2.
  21        AFFIRMATIVE DEFENSE NO. 25:
  22        Plaintiff willingly, voluntarily and knowingly assumed each, every and all the
  23   risks and hazards involved in the activities alleged in the complaint.
  24        AFFIRMATIVE DEFENSE NO. 26:
  25        Any and all alleged happenings and events, damages and injuries, if any there
  26   were, were proximately caused and contributed to by the negligence of plaintiff and
  27   others, each and all of whom failed to exercise ordinary care at the times and places
  28   alleged in the complaint.
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   1        AFFIRMATIVE DEFENSE NO. 27:
   2        Should plaintiff herein recover damages, the amount thereof should be abated,
   3   apportioned and reduced to the extent that the negligence or other legal
   4   responsibility of any other person or entity caused or contributed to damages, if any
   5   there were.
   6        AFFIRMATIVE DEFENSE NO. 28:
   7        The detention or arrest, if any there was, alleged in the complaint was regular
   8   and lawful and made in good faith by a peace officer or peace officers acting within
   9   the course and scope of authority and with reasonable cause to believe at the time
  10   that such action was lawful.
  11        AFFIRMATIVE DEFENSE NO. 29:
  12        There was reasonable cause to make the detention or arrest, if any there was,
  13   alleged in the complaint.
  14        AFFIRMATIVE DEFENSE NO. 30:
  15        Insofar as any defendant has delegated any duty to any subordinate, such
  16   delegation was at all times done in good faith, and with due care. Answering
  17   defendants are therefore not liable for any act or omission of any subordinate.
  18        AFFIRMATIVE DEFENSE NO. 31:
  19        Defendants are not liable for plaintiff’s injuries, if any, pursuant to California
  20   Penal Code section 836.
  21        AFFIRMATIVE DEFENSE NO. 32:
  22        There is no liability in that the acts alleged in the complaint, if done at all,
  23   were done in the execution and enforcement of the law while exercising due care.
  24   Cal. Gov. Code ' 820.4.
  25        AFFIRMATIVE DEFENSE NO. 33:
  26        There is no liability for any injury or damages, if any there were, resulting
  27   from acts done in good faith and without malice under the apparent authority of any
  28   enactment, even though said enactment be unconstitutional, invalid, or inapplicable.
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   1   Cal. Gov. Code § 820.6.
   2        AFFIRMATIVE DEFENSE NO. 34:
   3        There is no liability for injuries, if any there were, caused by independent
   4   contractors or third parties. Cal. Gov. Code ' 815.4, 820.8.
   5        AFFIRMATIVE DEFENSE NO. 35:
   6        There is no liability for any injury or damages, if any there were, resulting
   7   from an exercise of discretion vested in a public employee, whether or not such
   8   discretion be abused. Cal. Gov. Code ' 820.2.
   9        AFFIRMATIVE DEFENSE NO. 36:
  10        There is no liability for injury or damages, if any there were, caused by the
  11   instituting or prosecuting of any judicial or administrative proceeding. Cal. Gov.
  12   Code § 821.6.
  13        AFFIRMATIVE DEFENSE NO. 37:
  14        At all relevant times, plaintiff failed to mitigate injury and damages.
  15        AFFIRMATIVE DEFENSE NO. 38:
  16        Pursuant to California Government Code sections 962 and 984, any judgment
  17   entered herein may be paid by periodic payments rather than in a lump sum.
  18        AFFIRMATIVE DEFENSE NO. 39:
  19        Pursuant to California Government Code section 985, any judgment entered
  20   herein may be reduced for collateral source payments paid or obligated to be paid
  21   for services or benefits that were provided prior to commencement of trial.
  22        AFFIRMATIVE DEFENSE NO. 40:
  23        The acts complained of by plaintiff were provoked by plaintiff’s unlawful and
  24   wrongful conduct; therefore, plaintiff is not entitled to an award of punitive
  25   damages.
  26        AFFIRMATIVE DEFENSE NO. 41:
  27        The complaint and each cause of action therein fail to allege facts sufficient to
  28   state a claim for punitive damages. Cal. Gov. Code ' 818; Cal. Civ. Code, ' 3294.
                                                14
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   1          AFFIRMATIVE DEFENSE NO. 42:
   2          Any award for punitive damages herein would result in a deprivation of rights
   3   under the Constitutions of the United States and of the State of California in that:
   4          1) Defendants would be placed in double jeopardy by being tried twice for the
   5   same offense in contravention of the Fifth Amendment;
   6          2) The statutes and laws purporting to prescribe criteria for an award for
   7   punitive damages are vague in that they are not sufficiently specific to know what
   8   conduct will subject one to such penalty;
   9          3) Any award of punitive damages herein would violate the due process
  10   clauses of the Constitutions of the United States and the State of California in that
  11   the standards for setting such damages are void for vagueness and there is no
  12   objective standard for limiting the amount of punitive damages;
  13          4) Defendants would be required to be a witness in contravention of the Fifth
  14   Amendment;
  15          5) Such damages would be imposed without proof of guilt beyond a
  16   reasonable doubt in contravention of the Sixth Amendment;
  17          6) Defendants would be deprived of equal protection of the laws in
  18   contravention of the Fifth and Fourteenth Amendments in that any award is based
  19   in part upon individual wealth or economic status;
  20          7) Such award for punitive damages would violate the equal protection clauses
  21   of the Constitutions of the United States and the State of California in that it would
  22   encourage disproportionate punishment without a rational basis and amount to an
  23   arbitrary classification;
  24          8) Such damages would amount to excessive fines in contravention of the
  25   Eighth Amendment; and
  26          9) Defendants would be deprived in other ways of the right to due process of
  27   law.
  28   //
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   1        By reason of the above premises, the award of punitive damages herein should
   2   not be allowed.
   3        AFFIRMATIVE DEFENSE NO. 43:
   4        This action was filed and is maintained without reasonable cause and without
   5   a good faith belief that there is a justifiable controversy under the facts and law to
   6   warrant the filing of the pleading. As the proceeding arises under the California
   7   Tort Claims Act, defendants are entitled to recover costs, including reasonable
   8   attorneys’ fees, upon prevailing on summary judgment, judgment before
   9   presentation of defense evidence, directed verdict, or nonsuit. Cal. Civ. Proc. Code
  10   ' 1038.
  11        AFFIRMATIVE DEFENSE NO. 44:
  12        Because the complaint is couched in conclusory terms, all affirmative defenses
  13   that may be applicable to the within action cannot be fully anticipated. Accordingly,
  14   the right to assert additional affirmative defenses, if and to the extent that such
  15   affirmative defenses are applicable, is reserved.
  16                WHEREFORE, defendants pray that:
  17                1.   Judgment be rendered in favor of defendants and against plaintiff;
  18                2.   Plaintiff take nothing by her complaint;
  19                3.   Defendants be awarded costs of suit and attorneys’ fees incurred
  20   herein; and
  21                4.   Defendants be awarded such other and further relief as the Court
  22   may deem necessary and proper.
  23                               DEMAND FOR JURY TRIAL
  24                Pursuant to Federal Rule of Civil Procedure Rule 38 and all other
  25   applicable rules and provisions of law, defendants hereby demand trial by jury in
  26   this case.
  27   //
  28   //
                                                  16
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   1 Dated: December 16, 2019                   Respectfully submitted,
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